Case 2:04-cr-20397-SH|\/| Document 47 Filed 06/13/05 Page 1 of 2 Page|D 75

IN THE UNITED sTATEs DISTRICT coURT FlI.ED F,%":' LKQ?/,,,_ D.C.
FoR THE wES'rERN DISTRICT oF TENNESSEE
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UNITED sTATES oF AMERICA, W-U O‘ …* ‘*'"?“‘H‘S

Plaintiff,
CR. NO. 04-20397~Ma

VS.

FREDDIE FORD,
DAVID HERNANDEZ,

-_¢`_.¢-_¢-._¢-_¢-_»-._¢-._.¢-.,-.z

Defendants.

 

ORDER ON CONTIN'UANCE .AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 3l, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of_Friday, August 26, 2005 at 2:00 p.m.

The period from May 31, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161{h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
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Honorable Samuel Mays
US DISTRICT COURT

